






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00658-CV







In re University Interscholastic League







ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R A N D U M   O P I N I O N

	Relator University Interscholastic League files its petition for writ of mandamus and
motion for emergency relief.  See Tex. R. App. P. 52.8, 52.10.  We deny the petition for writ of
mandamus and overrule the motion for emergency relief.



					__________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Kidd and Puryear

Filed:   November 20, 2003


